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                EXHIBIT A
   [PUBLIC VERSION]
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF WYOMING


CUSTODIA BANK, INC.,
2120 Carey Avenue, Suite 300
Cheyenne, WY 82001
                                            Civil Case No.: 1:22-CV-00125-SWS
      Plaintiff,

               v.

FEDERAL RESERVE BOARD OF
GOVERNORS,
Constitution Ave NW & 20th St NW
Washington, DC 20551

FEDERAL RESERVE BANK
OF KANSAS CITY,
1 Memorial Drive
Kansas City, MO 64108,

      Defendants.



                   EXPERT REPORT OF PETER CONTI-BROWN, PH.D.
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      I, Peter Conti-Brown, Ph.D., declare and state as follows:

I.    INTRODUCTION
      A.    Qualifications

            I am the Class of 1965 Associate Professor of Financial Regulation at

The Wharton School of the University of Pennsylvania. I received an AB from

Harvard College, a law degree from Stanford Law School, and a PhD in financial

history from Princeton University, where my graduate coursework was in both

history and economics.

            I teach courses on financial regulation, financial history, and business

ethics, among other topics, to undergraduates, graduate students pursuing their

Masters Degrees in Business Administration, and PhD students in the History

Department of the University of Pennsylvania and in the Department of Legal

Studies and Business Ethics at The Wharton School. I also teach executives at The

Wharton School’s campus in Philadelphia and in San Francisco and around the

world. Prior to becoming a professor at Wharton in 2015, I was an academic

fellow at Stanford Law School and Stanford’s Graduate School of Business for

four years. I have also held positions in federal government as a law clerk for two

federal appellate judges on the U.S. Courts of Appeals for the Second and District

of Columbia Circuits.



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                   I have published numerous articles and books on the subjects of

banking, central banking, and the Federal Reserve, including a forthcoming history

of the Federal Reserve System and another on the history of bank supervision in

the United States. I am also the co-author of one of the leading textbooks on

financial regulation in wide use in law schools in the United States.

                   I have consulted widely in the financial services industry, and have

been retained as an expert witness in Holbrook vs. The Brink’s Company, US

District Court for the Southern District of Ohio Eastern Division, Case No. 2:13-

cv-873, which was resolved by the court on a motion for summary judgment prior

to my deposition; Home Federal Bank of Tennessee v. Home Federal Bank

Corporation, US District Court for the Eastern District of Tennessee, Case No.

3:18-cv-00379, which was settled by the parties prior to my deposition; and Ocwen

vs. Weiner, US District Court for the Eastern District of California, Case No. 2:14-

cv-02597, for which I was deposed in March 2019 and which was settled by the

parties in 2023. 1

          B.       Compensation Disclosure

                   Plaintiff Custodia Bank, Inc, (“Plaintiff”) is paying an hourly fee of

$950 per hour for the time I spend working on this Report and otherwise assisting



1
    More on my educational and research background is included in the attached Curriculum Vitae. Exhibit 1.

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counsel on this case. My compensation is not contingent on any outcome in this

case. The views expressed herein are my own.

      C.     Documents Considered

             In conducting my analysis, I have considered the scholarly literature on

the history and practices of Federal Reserve System services. I also extensively

consulted the legislative histories of the Federal Reserve Act (and its amendments,

including the Banking Act of 1935), the Depository Institutions and Monetary

Control Act of 1980 (“Monetary Control Act”), and the Riegle-Neal Interstate

Banking and Branching Efficiency Act of 1994, among others mentioned below. I

consulted the historical record regarding the challenges of providing Federal Reserve

services throughout its 110-year history. I consulted news coverage of the Federal

Reserve’s master account procedures from 1997 to the present. I consulted the

annual reports of the Board of Governors of the Federal Reserve System and the

twelve Federal Reserve Banks. And I reviewed the administrative record produced

by the Federal Reserve Board of Governors as well as documents produced by the

Federal Reserve Bank of Kansas City. Specific citations follow below, with a list of

citations included as Exhibit 2. I refer to all materials, including any legal materials,

only for factual and historical purposes; nothing in this report purport to be a legal

conclusion on the questions pending before the court.



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II.     Summary of Opinions
                 This report contains my findings and opinions as of October 20, 2023.

My analysis of these issues is ongoing and my opinions may change if additional

information relevant to these questions comes to my attention, for example, through

reports or documents generated through further discovery by the parties.2

                 I have been retained by Plaintiff to provide expert opinions on two

related questions: (1) whether the Fed’s claim of discretion over Master Account

access conforms to history, practice, legal context, and the public policies of the US

government and the Federal Reserve itself; and (2) whether the Board of Governors

of the Federal Reserve exercises ultimate authority over Master Account access.

                 First, I conclude that the Board’s claim of discretion over Master

Account access does not conform to history, practice, legal context, or the public

policies of the US government and the Federal Reserve itself. The Fed only began

to assert such discretion over Master Account access around 2015. This assertion

also fundamentally remakes the nature of the US financial and banking system, a

delicate balance that has evolved over 160 years, in a way that Congress never

authorized and never intended.




2
  Throughout this report, I have referred to the decision-making entity in determining access to Master Accounts as
“the Federal Reserve” or “the Fed.” This refers to the Federal Reserve System, which includes the Fed’s Board of
Governors, a governmental agency in Washington, DC, and the twelve quasi-private Federal Reserve Banks.

                                                        4
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                   The Fed’s assertion of discretion over Master Account access for

legally eligible, duly chartered depository institutions upsets what is known as the

“dual banking system,” a system that permits state and federal chartering authorities

and state and federal supervisory and regulatory authorities to participate in the

management of the US financial system. 3 Key to the success of the dual banking

system is the recognition that state and federal authorities each play a role in granting

access to the banking system that is supervised and regulated jointly by both state

and federal actors.

                   The federalism at the heart of the dual banking system is important not

only because of the historical evolution that produced it.                               State and federal

participation in bank chartering, supervision, and regulation also permits depository

institutions to survey various options and business models – traditional banks, credit

unions, thrifts, for example. In turn, this system permits states and federal chartering

and supervisory authorities to experiment in competition with each other to drive

innovation, financial inclusion, and the availability of novel financial services to a

dynamic economy.

                   The Fed’s assertion of discretion in granting access to a Master Account

upsets this delicate balance. As I wrote in 2018, a depository institution that is


3
    See, e.g., The National Banks and the Duel Banking System (Comptroller of the Currency, September 2003).



                                                         5
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denied access to a Master Account at a Federal Reserve Bank “can’t really function

as a financial institution. It becomes instead a kind of storage locker.”4 A depository

institution so denied can no longer function by that name, despite the authorization

from state chartering authorities and the legal eligibility to bank at the Federal

Reserve.

                   Before 2015, the Federal Reserve viewed access to a Master Account

as, in legal scholar Julie Hill’s description, a “quick” process that deferred risk

assessments to “a federal or state bank supervisor.” 5 After 2015, the Fed changed

that delicate process entirely. By claiming a second look at every depository

institution that seeks to do business with the Federal Reserve (as every depository

institution must do), the Fed has become the de facto re-chartering authority for

every depository institution in the country, whatever its business model, whatever

its geographic footprint, whatever its local governmental support.

                   Under the Fed’s newly discovered discretion in providing access to the

Master Account, it has displaced state chartering and supervisory authorities. Under

the Fed’s theory of the scope of its authority, there is no limit to this displacement.

It can, by its assertion, second guess any determination made by any state



4
  Peter Conti-Brown, The Fed Wants To Veto State Banking Authorities. But Is That Legal? Brookings (Nov. 14,
2018), https://tinyurl.com/4pxju8jd.

5
    Julie A. Hill, Opening a Federal Reserve Account, 40 YALE J. REGUL. 453, 456, 463 (2023)

                                                         6
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government at any time with respect to what constitutes the appropriate provision of

banking and financial services anywhere within the reach of the global banking

system.

                    These sweeping assertions of authority are not limited to the question

of Master Account access. The Fed has also used ongoing access to its priced

services as a cudgel for depository institutions to which it has already granted

access. As explained in more detail below, such was the case of the Territorial

Bank of American Samoa (“TBAS”). 6This level of centralized federal control over

every aspect of banking is new in the 160-year history of the formal federal

banking supervision in the United States.

                    It is also new in the nearly fifty-year history of the Monetary Control

Act (“MCA”). As explained in more detail below, from the passage of the MCA in

1980 through the creation of the Master Account in 1998 until the Fed announced

its discretion to deny access in 2015, the Fed treated such access as routine and

deferential. The legislative history surrounding the MCA illustrates what was

intended by the passage of the relevant provisions: “open access to Federal

Reserve System services” for all depository institutions while maintaining “the




6
    See infra §§ III.F.3, IV.A.2



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continuation of the freedom for banks to choose a State or Federal charter and

membership in the Federal Reserve System” as they preferred.7

                    The Federal Reserve’s newly asserted authority to grant or deny

access as it sees fit to these services is thus inconsistent with the MCA and the

choices Congress made when enacting that legislation. It is also inconsistent with

the history, practice, and public policy of the US government and the Federal

Reserve itself.

                    Second, the historical record shows that, since the Fed announced its

authority to act as a re-chartering agency for all depository institutions, the Board

of Governors has exercised control over specific access or lack of access to Master

Account and other Fed services.

                    The Board of Governors, not the twelve quasi-private Federal Reserve

Banks, is responsible for controlling regulatory, supervisory, and financial policy

for the Federal Reserve System.

                    As I explain below, in at least three previous cases, the Board has

intervened in decisions on Master Account access that, in the Fed’s view, implicate

its own policy choices. 8




7
    Hrg. Before the Sen. Committee on Banking, Housing, and Urban Affair, 96th Cong. at 54 (Feb. 4-5 1980).

8
    See infra § IV.A.

                                                         8
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                 The administrative record in this case supports the conclusion that the

Board reached the same determination in the present case, as well. Staff at the

Kansas City Fed and the Board of Governors viewed Custodia’s request for access

to a Master Account as setting “precedent.” 9

                 The Fed thus attached policy importance to accepting Custodia’s

request to be accepted into the financial and banking system. It also apparently

disagreed with Wyoming state banking authorities and the Wyoming state

legislature in this regard. Based on my review of the administrative record in this

case, I conclude that the Board of Governors expressed these views specifically in

denying Custodia’s access to the Master Account in two ways: (1) by consulting

regularly with the Kansas City Fed throughout the pendency of Custodia’s master

account request, and (2) by redlining the recommendation that the Kansas City Fed

staff made to the Kansas City Fed President regarding Custodia’s request.

                 More generally, the Board of Governors asserted its control over these

evaluative processes in two additional ways: (1) by promulgating the Guidelines

for Evaluating Account and Service Requests, which provides a detailed roadmap

for denial of access and essentially invites Reserve Banks to consult with the Board

on marginal cases; and (2) by issuing the non-public internal guidance letter S-



9
    FRB-AR-000336 at FRB-AR-000343; FRBKC-00014860 at FRBKC-000014862.

                                                 9
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2677, which explicitly requires Reserve Banks that are “considering approval of

an access request from a higher risk entity, including all Tier 2 or Tier 3

institutions,” to “consult with the director of [Reserve Bank Operations and

Payment Systems]” on the results of its pre-decisional analysis under the

Guidelines prior to communicating any decision to the institution.” 10

                 The Fed has gone to some length to make Custodia’s denial of access

to a Master Account appear to be an independent determination of the Federal

Reserve Bank of Kansas City. The record shows otherwise. The Board must not

be permitted to hide behind the quasi-private Federal Reserve Banks in making

regulatory and supervisory decisions.

III.      THE FED WAITED MORE THAN THIRTY YEARS AFTER
          PASSAGE OF THE MONETARY CONTROL ACT TO ASSERT
          DISCRETION OVER WHETHER TO GRANT MASTER ACCOUNT
          REQUESTS

          A.     The Dual Banking System
                 The United States operates a dual banking system that allows banks to

be chartered by either the state or federal government. This system began with the

passage of the National Banking Acts of 1863 and 1864, which initiated the era of

nationally chartered banks.




10
     FRB-AR_000014 at FRB- AR-000016.

                                            10
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                    Banks with national charters are primarily supervised and regulated

by the Office of the Comptroller of the Currency (OCC), an independent regulator

within the US Treasury. Banks with state charters are primarily supervised by

state regulators. The existence of charter and supervisory optionality has raised

debates about the wisdom of this system. 11 Nevertheless, the dual banking system

has been sustained by Congress for 160 years.

                    While the dual-banking system divides the chartering and regulatory

responsibilities between the Federal and state governments, it does not create two

separate systems for bank services. The Federal Reserve must provide access to

the U.S. dollar payment system to eligible depository institutions on a

nondiscriminatory basis. 12 This is because there is only one provider of essential

central banking financial services: the US central bank, or the Federal Reserve

System. There is no state analogue of these services. The Fed, in this respect, is

the only game in town.




11
  Compare Kenneth E. Scott, The Dual Banking System: A Model of Competition in Regulation, 30 STANFORD L.
REV. 1 (1977) with Henry N. Butler and Jonathan R. Macey, Myth of Competition in the Dual Banking System,
73 CORNELL L. REV. 677 (1988).

12
     12 U.S.C. §§ 248a(c)(2), 1831d(a).



                                                  11
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           B.       The Federal Reserve System

                    The Federal Reserve System was created by Congress and signed into

law on December 23, 1913.13 The three words in its title, curious for central banks

then and now, spoke to the balance that its framers had to strike in creating a new

central bank in the United States, given Americans’ longstanding skepticism of

central banks and centralized bank power.

                    The “Reserve” part of the new System was natural enough: To

combat the string of devastating Gilded Age financial panics and crises, Congress

sought to create a reserve of “elastic” currency that could circulate more quickly

through an economy in distress than the alternatives that had been tried before. 14

                    The “Federal” part was an acknowledgement that the power for this

system would be shared between a central authority, then called the Federal

Reserve Board, and the twelve quasi-private “Reserve Banks” organized according

to a process set forth in the Federal Reserve Act.

                   The Reserve Banks, the Federal Reserve Board, and the banks that

opted to become members of the Federal Reserve to gain access to its financial

services formed the “System.”


13
     Federal Reserve Act, Pub. L. No. 63-43, 38 Stat. 251 (1913).

14
  Federal Reserve Act, Pub. L. No. 63-43, 38 Stat. 251 (1913); Roger Lowenstein, AMERICA’S BANK: THE EPIC
STRUGGLE TO CREATE THE FEDERAL RESERVE (2015); Elmus Wicker, BANKING PANICS OF THE GILDED AGE (2000).



                                                          12
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                    Almost immediately there were conflicts and uncertainties about who

would have supervisory authority over which depository entities. 15

                    National banks – those chartered by the OCC – were required by law

to become members of the Federal Reserve System. This created a conflict

between the OCC and the Fed regarding which entity would have primacy with

respect to regulating and supervising those national banks.

                    Similarly, once state-chartered banks joined the Federal Reserve

System, those banks were supervised by both state and federal regulators. There

again arose the question of supervisory primacy: would the states control these

institutions, or would the Federal Reserve? That answer varied state by state and

reserve bank by reserve bank. What was consistent across the System was that

membership in the Fed did not replace state supervision. Rather, state supervisors

and state-chartered banks ensured that state supervision remained firmly in place,

whatever requirements the Fed might impose on those state banks that joined its

System.

                    Originally, the Fed was charged with providing its financial services

only to “its member banks” and “the United States.”16 In 1917, however, Congress



15
  1 Allan Meltzer, A HISTORY OF THE FEDERAL RESERVE at 75 (2003) (“Tensions between the Board and the reserve
banks began before the System opened for business.”)

16
     Federal Reserve Act, Pub. L. No. 63-43, 38 Stat. 251, § 13 (1913).

                                                           13
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began expanding this list of covered entities. Today, subject to some restrictions,

covered entities include “member banks, or other depository institutions, . . . the

United States” and “nonmember bank or trust company or other depository

institution.”17

           C.        The Fragmented Regulatory Landscape for Banking
                     The problem of regulatory and supervisory confusion with the

addition of the Federal Reserve—and thus the need to adjudicate those tensions—

was recognized from the beginning. Even before the Federal Reserve System was

created, there were prominent individuals who advocated for the displacement of

the national banking charter.

                     For example, Lyman Gage, writing as a former Secretary of the

Treasury in 1907, wrote that the Comptroller of the Currency had essentially failed

in its efforts to supervise the financial system and “should be repealed” in favor of

a “central bank or Government bank of adequate capital.18

                     Such was a common refrain throughout the last 110 years, most

recently in a call for reform issued by former Fed Chairman Paul Volcker in




17
     12 USC § 342.

18
     Gage et al, “The Financial Situation,” North American Review, Feb 1908, vol 187, page 161-192.



                                                         14
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2015. 19 Volcker and his colleagues looked at all the fractures in federal and state

bank regulation and reached the conclusion that so disjointed a system was not able

to effectuate the financial and monetary policy goals that Congress had put before

them.

                 Despite the long enthusiasm for simplifying or centralizing this

system, each of these efforts failed. As a result, a clear set of responsibilities

developed, echoing through many different statutory allocations of responsibility,

as follows:

                 a.      The Comptroller of the Currency has exclusive chartering

                         authority and primary supervisory authority over banks that

                         sought or received a national charter.

                 b.      The state chartering authorities have exclusive chartering

                         authority and primary supervisory authority for state-law

                         matters over those banks that sought or received a state charter.

                 c.      Since 1933, the Federal Deposit Insurance Corporation has

                         worked with the OCC in supervising national banks and the

                         state chartering authorities in working with state banks.




19
   See Volcker Alliance, Reshaping the Financial Regulatory System, April 2015. For more on the history of these
failed efforts, see Elizabeth F. Brown, Prior Proposals to Consolidate Federal Financial Regulators, THE VOLCKER
ALLIANCE (2015).

                                                      15
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             d.    The Federal Reserve shared supervisory authority over national

                   banks (which were members of the Federal Reserve System by

                   statute) and the state banks that opted into membership.

             Prior to 1980, the Fed was also permitted to discriminate in the

provision of services in favor of those entities that became members of the Federal

Reserve System. Such discrimination, the Fed believed, was necessary in part to

attract state banks to join the Federal Reserve System, given that membership also

included regulatory requirements that were sometimes more burdensome than state

banking authorities required of the same entities.

      D.     The Monetary Control Act of 1980
             Federal Reserve Bank services were at one time limited to Federal

Reserve discretion, which gave preference to Federal Reserve member banks. That

changed in 1980, when Congress passed the Monetary Control Act and removed

such discretion from the Federal Reserve.

             Then-Fed Chairman Paul Volcker testified that Congress needed to

change the law because failure to do so left the Fed “with the increasingly

awkward problem of discriminating between members and nonmembers in the

provision of certain services, such as automated clearinghouse payments, which for




                                         16
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practical reasons cannot operate efficiently unless open to all depository

institutions.”20

                    William Proxmire, one of the sponsors of the legislation that would

amend the Federal Reserve Act, stated his aim more clearly: he wanted “open

access to Federal Reserve System services” and “the continuation of the freedom

for banks to choose a State or Federal charter and membership in the Federal

Reserve System.” 21

                    Consistent with those statements, the conference report announces an

intention to “open access to [Federal Reserve] services to all depository institutions

on the same terms and conditions as member banks.”22

                    The Monetary Control Act as signed into law implemented that

intention. The Monetary Control Act requires the Federal Reserve to offer the

services enumerated in 12 U.S.C. § 248a not just to its member banks but to all

depository institutions regardless of their membership status.23 The Act also

requires the Federal Reserve to price its services at cost, charge the same price to all

20
     Hrg. Before the Sen. Committee on Banking, Housing, and Urban Affair, 96th Cong. at 11 (Feb. 4-5 1980).

21
     Id. at 54.

22
     126 Cong. Rec. 6250 (1980) (Conf. Rep.)
23
  See Fred H. Miller, Robert G. Ballen, & Hal S. Scott, Commercial Paper, Bank Deposits and Collections, and
Commercial Electronic Fund Transfers, 39 Bus. Law. 1333, 1365 (1984) (“The [Monetary Control Act] required the
Federal Reserve, for the first time, to provide access to virtually all of its services to all depositary institutions on the
same terms and conditions, and to charge for such services.”).



                                                            17
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depository institutions, and publish its prices publicly. 24 No provision of the

Monetary Control Act exempts a particular Federal Reserve payment service or

indicates that providing payment services would be a discretionary matter with the

Federal Reserve. By mandating access to the priced services of the Federal Reserve

to all depository institutions rather than merely to member banks, Congress

intentionally “increased the potential universe served by the Federal Reserve from

5,400 member banks to over 40,000 depository institutions.”25 After the Act’s

passage, the Fed invited nonmember banks and thrifts to take advantage of these

services.26

                    In 1980, the Fed issued its first regulatory implementation of the

Monetary Control Act and stated in the Federal Register that the statute “requires

the Board of Governors of the Federal Reserve System to begin putting into effect a

schedule of fees for services . . . and to make such services covered by the fee

schedule available to all depository institutions.” 27 A few months later, it




24
     12 U.S.C. § 248a(c)(2).

25
  House Committee on Banking, Finance, and Urban Affairs: Subcommittee on Domestic Monetary Policy, The
Role and Activities of the Federal Reserve System in the Nation’s Check Clearing and Payments System, 98th Cong.
(1984).
26
     See Hill, Opening a Federal Reserve Account, supra n. 5 at 462.

27
  Federal Reserve Bank Services; Proposed Fee Schedules and Pricing Principles, 45 Fed. Reg. 58,689, 58,689 (Sept.
4, 1980)



                                                          18
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reaffirmed that such “[s]ervices covered” by the statute must be made “available to

all depository institutions.” 28

                 In July 1981, the Federal Reserve Bank of Dallas, which managed the

Fed’s automated clearing house service, similarly announced that beginning in

August of that year, such services would be “available to all depository institutions

in the District.”29

                 Indeed from 1980 until approximately2015, the Fed – both the Board

of Governors and the Federal Reserve Banks – urged all depository institutions to

take advantage of its services on equal terms. 30

                 Contemporary experts agreed with the Fed’s interpretation of the

Monetary Control Act: Since the 1980s, it has been well-understood among


28
   Adoption of Fee Schedules and Pricing Principles for Federal Reserve Bank Service, 46 Fed. Reg. 1338, 1338 (Jan.
6, 1981)

29
   Federal Reserve Bank of Dallas, Circular No. 81-155 (July 30, 1981). See also Julie Hill, From Cannabis to Crypto:
Federal Reserve Discretion in Payments, Iowa Law Review, vol 109, draft July 17, 2023, pp 61-63 for more such
citations.

30
   Hill, Discretion in Payments, supra n. 28 at 61. See also J.L. Jackson & Willis J. Winn, Foreword to Federal
Reserve Bank of Cleveland 1980 Annual Report at 2 (1981) (stating that in light of the 1980 Deregulation and
Monetary Control Act, “[o]ur services will now be available to all depository institutions”); Elijah Brewer III, The
Depository Institutions Deregulation and Monetary Control Act of 1980, Econ. Perspectives, Sept.-Oct. 1980, at 3, 4
(stating that the 1980 Deregulation and Monetary Control Act requires the Federal Reserve to “grant all depository
institutions access to [Federal Reserve] services”); Lynn Elaine Browne, The Evolution of Monetary Policy and the
Federal Reserve System Over the Past Thirty Years: An Overview, New Eng. Econ. Rev., Jan.-Feb. 2001, at 3, 8
(stating that the 1980 Deregulation and Monetary Control Act required the Federal Reserve to make Federal Reserve
services “available to all depository institutions”); Anatoli Kuprianov, The Monetary Control Act and the Role of the
Federal Reserve in the Interbank Clearing Market, Econ. Rev., July-Aug. 1985, at 23 (stating that the 1980
Deregulation and Monetary Control Act required Federal Reserve services to be “made available to all depository
institutions on equal terms”); Gary C. Zimmerman, The Pricing of Federal Reserve Services Under the MCA, Econ.
Rev., Winter 1981, at 22 (1981) (stating that the 1980 Deregulation and Monetary Control Act “provides for access
by all depository institutions to major [Federal Reserve] services”).



                                                        19
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banking experts that “[t]he [Monetary Control Act] . . . required the Federal

Reserve, for the first time, to provide access to virtually all of its services to all

depositary institutions on the same terms and conditions, and to charge for such

services.”31

                    For roughly two decades, from 1980 until 1998, the priced services

identified in the Monetary Control Act were spread throughout the Federal Reserve

System. Nonbank depository institutions, such as thrifts and credit unions, made

liberal use of the Fed’s discount window and other priced services, including

payment services.

                    The timing of the Monetary Control Act’s passage was fortuitous.

Shortly after its passage, the US financial system was hit by a slow-boiling

financial crisis that lasted from the early 1980s through at least 1995. During a

period of unprecedented tumult in this sector, the Fed provided financial services

for these firms that it did not charter, whose business practices it did not sanction.

           E.       The 1998 Introduction of Master Accounts

                    In the mid-1990s, Congress enacted the Riegle-Neal Interstate

Banking and Branching Efficiency Act of 1994. 32 The Act made a sweeping



31
  Fred H. Miller, Robert G. Ballen, & Hal S. Scott, Commercial Paper, Bank Deposits and Collections, and
Commercial Electronic Fund Transfers, 39 Bus. Law. 1333, 1365 (1984).

32
     Riegle-Neal Interstate Banking and Branching Efficiency Act, Pub. L. No. 103-328, 108 Stat. 2338 (1994).

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change to the way that depository institutions could do business across state lines,

ending a longstanding, uniquely American experiment in banking known as “unit

banking,” or the practice of limiting a bank to a single branch. After this

liberalization, the Fed consolidated all its priced services into a single account,

which it called the “Master Account.” 33 Following this consolidation, the only way

to access Federal Reserve services such as check clearing and wire transfer

services is through this new account.

                    When introducing the master account, the Fed, through the Federal

Reserve Bank of Dallas, announced via an Operating Circular several benefits of

the new system that would be “uniform across Federal Reserve Districts.” 34 The

Circular outlined what the Fed called the “contract” between it and the depository

institutions that were legally eligible. While the circular did state that “all master

accounts are subject to Reserve Bank approval,” the Circular also stated that all

that was needed to open a Master Account was to “execute a Master Account

Agreement.” This agreement was a single page long. The boilerplate language

indicated the institution’s accession to the terms of the Opening Circular. It then




33
     Hill, Opening a Federal Reserve Account, supra n. 5 at 462.

34
  Federal Reserve Bank of Dallas, Notice 97-104: Federal Reserve Standardized Operating Circulars (Nov. 12,
1997),

                                                          21
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contained space to input only basic identifying information related to the

institution.

                    There was no space in this Master Account Agreement for the

institution to provide any information regarding risk assessments, capital structure,

business model, shareholders, relationship with federal supervisors, Fed

membership status, deposit or share insurance status, or any other such information

on which the Fed later relied in finding its discretion. The Dallas Fed later

reported that the processing of these agreements could take “5-7 business days,”

suggesting a perfunctory processing function, not a risk evaluation or quasi-

chartering determination. 35

                    The assertion in the Circular that the Reserve Bank could subject the

Master Account Agreement to “approval” suggests some kind of discretionary

determination. The practices of the previous and subsequent decades suggest

otherwise. The Federal Reserve Banks and Board of Governors could indeed

reject entities that lacked legal eligibility for such an account. This legal

determination was not necessarily a cut-and-dried exercise and could arguably

mean that the Fed could conclude for marginal cases that a proposed Agreement




35
     Fed. Rsrv. Bank of Dallas, Operating Circular No. 1: Account Relationships, Apx. 1 (effective Sept. 1, 2002)

                                                          22
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could not be executed because the Fed deemed the entity to lack legal eligibility

for it.

              The reason for creating the Master Account as an agreement to strike

between client and service provider rather than an application to be approved by a

chartering authority to a supplicant goes back to the delicate balances of federalism

in the dual banking system and pre-specified regulatory lanes in the federal

government. In our dual banking system, the chartering authority for banks is

divided between the states and the federal government. Each bank must choose its

chartering authority. At the federal level, the OCC, FDIC, and Fed also each play

distinct roles.

              It is important to understand why these different lanes of operation are

so important and so important to preserve. Chartering authority is the ability of a

government entity – state or federal – to give a depository institution permission to

engage in the business of banking. Chartering also commits the governmental

entity to an ongoing relationship with the depository institution. That relationship

involves both regulation and bank supervision. Regulation is the passage of rules

for the entire system under that jurisdiction; supervision is a set of relationships




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that puts banks and their chartering authorities in constant dialogue about, among

other things, the risk management of new and existing services.36

                  I have searched through public records, every publicly available

annual statement of every Federal Reserve Bank and the Fed’s Board of Governors

from 1980 to the present, news accounts, and the scholarly literature. I have found

no instance of the Fed publicly asserting that it had discretion to deny a master

account to a duly-chartered depository institution between 1998 and 2015. Instead,

it repeatedly stated or suggested that such accounts would be approved after a

cursory agreement was signed and submitted to the relevant Federal Reserve

Bank. 37

                  So far as I have been able to discern, none of the above was

controversial for the first 35 years after Congress enacted the Monetary Control


36
     See Peter Conti-Brown & Sean Vanatta, Risk,                      Discretion,    &    Bank    Supervision     (2023),
https://papers.ssrn.com/sol3/papers.cfm?abstract_id=4405074
37
   2010, Board of Governors Annual Report, p153 (referring to a changes to interest-bearing deposits, with no
reference to discretion in approving those accounts) https://fraser.stlouisfed.org/title/annual-report-board-governors-
federal-reserve-system-117/2010-2468; Federal Reserve Bank of Philadelphia. Annual Report. 2010. P7.
https://fraser.stlouisfed.org/title/annual-report-federal-reserve-bank-philadelphia-469/navigating-change-579775;
Marlin, Steven. “KeyCorp Moves to Single Fed Account.” July 1998. BankTech.com. Available:
https://drive.google.com/file/d/18EYlbXZ6nNNurycQa4e7eN9a1UPGf-oy/view?usp=share_link; 1997, Federal
Reserve Bank of San Francisco, pdf6, https://www.frbsf.org/wp-content/uploads/1997_annual_report.pdf (discussing
the emergence of depository institutions with nationwide networks as a reason to grant them master accounts); 1997,
Board of Governors Annual Report, p248 (discussing that the new master account would be available to “each
chartered      institution),     https://fraser.stlouisfed.org/title/annual-report-board-governors-federal-reserve-system-
117/1997-2457; Board of Governors, p257 (discussing the need for consolidated priced services in the form of a
“relationship between the Federal Reserve and any depository institution.”) , https://fraser.stlouisfed.org/title/annual-
report-board-governors-federal-reserve-system-117/1996-2460; Federal Reserve Bank of Dallas. New Bulletin 11,
Circular No. 81-155. July 30, 1981. https://fraser.stlouisfed.org/title/district-notices-federal-reserve-bank-dallas-
5569/new-bulletin-11-541337; Federal Reserve Bank of San Francisco “Federal Reserve Notes.” July 1981.
https://fraser.stlouisfed.org/title/federal-reserve-notes-5186/july-1981-527563. See also, Hill, supra n. 28 at 60-62.

                                                           24
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Act. I have found no evidence that during the period from 1980 to approximately

2015 was the Federal Reserve asserting the power to decide whether to grant

priced services to legally eligible depository institutions.

        F.       In 2015, the Federal Reserve Changes Course
                 The Federal Reserve’s veered away from the routine and deferential

nature of Master Account access in 2015, when it refused to grant access to Fourth

Corner Credit Union, a duly-chartered Colorado state credit union. The Fourth

Corner Credit Union litigation was the first time that the Fed publicly asserted that

it had discretion to choose which legally eligible, duly chartered depository

institutions could or could not receive access to its priced services.

                Remarkably, in litigation regarding this denial, counsel for the Fed

acknowledged that the Fed could not identify any time in the previous ten years

when the Fed had exercised discretion to deny an eligible credit union access to a

Master Account. 38 The Court noticed the change. In his separate opinion, Judge

Bacharach observed that the departure from precedent appeared to be a “litigation

position.”39


38
  See Reporter’s Transcript Oral Argument 37-39, Fourth Corner Credit Union v. Fed. Reserve Bank of Kansas City,
154 F. Supp. 3d 1185 (D. Colo. 2016) (No. 15-CV-01633). See also Hill, Discretion in Payments, supra n. 28 at 62-
63.39 Fourth Corner Credit Union v. Federal Reserve Bank of Kansas City, 861 F.3d 1052, 1071 (10th Cir. 2017) (Op
of Bacharach, J.).

 Fourth Corner Credit Union v. Federal Reserve Bank of Kansas City, 861 F.3d 1052, 1071 (10th Cir. 2017) (Op of
39

Bacharach, J.).



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                    In the years that followed, the Fed would follow the course it charted

in Fourth Corner on at least three other occasions. I summarize Fourth Corner

and these other cases below. 40

                    1.       Fourth Corner Credit Union

                    The first instance of the Fed publicly claiming that it had the

discretion to deny access to its priced services came, as noted, in the case of Fourth

Corner Credit Union.

                    The Fed’s justification for this denial was that the credit union, as “a

de novo depository institution, there is no historical record for the [Federal Reserve

Bank of Kansas City] to review.” 41 It also cited the National Credit Union

Administration’s determination that Fourth Corner did not submit sufficient

information to “assess [its] ability to safely and soundly operate and comply with

applicable laws and regulations, including Bank Secrecy Act and Anti-Money

Laundering responsibilities.”42




40
  The facts that follow are based on press reports, court filings, and the interviews conducted by legal scholar Julie
Hill, as described in her two recent articles on the Fed’s Master Accounts. See Hill, Discretion in Payments, supra n.
28 and Hill, Opening a Federal Reserve Account, supra n. 5.
41
     Hill, Discretion in Payments, supra n. 28 at 15

42
  Id. Julie Hill evaluates Fourth Corner’s request for a Master Account and the subsequent litigation thoroughly in
Hill, Opening a Federal Reserve Account, supra n. 5 at 471-76.



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                  This denial appears to be focused on Fourth Corner’s plan for

providing financial services to marijuana-related businesses that were

unquestionably legal under Colorado state law and more questionably illegal under

federal law. 43

                  The split between state drug laws and federal drug laws introduced a

complex question of federalism, federal preemption, and prosecutorial discretion, a

set of issues that scholars and policymakers continue to debate.44

                  With Fourth Corner Credit Union, the Fed entered that debate with an

emphatic view: an exception to the previously routine access to Master Accounts

for legally eligible depository institutions. That exception seems to be that

depository institutions that might provide financial services to entities that violate

federal law will be denied access to the Fed’s priced services if it suspects that

entities engaged in those services are violating federal drug law.

                  After the Fed denied Fourth Corner’s account, the bank sued,

requesting that the Court enter an injunction ordering the Fed to comply with 12

U.S.C. § 248a and provide the bank with a master account.




43
  Some of the businesses that Fourth Corner sought to serve were advocacy groups whose activities were permissible
under both state and federal law.

44
     Johnathan Adler, MARIJUANA FEDERALISM: UNCLE SAM AND MARY JANE (2020).



                                                       27
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                    The district court dismissed Fourth Corner’s complaint. The Court

concluded that the bank was “asking the Court to exercise its equitable authority to

issue a mandatory injunction. But courts cannot use equitable powers to issue an

order that would facilitate criminal activity.” 45 The district court also concluded

that “it is at least implicit that [12 U.S.C.§ 248a] does not mandate the opening of a

master account that will facilitate activities that violate federal law.” 46

                    The bank appealed that decision to the Tenth Circuit, which remanded

the case to the district court for dismissal without prejudice with each judge writing

separately, without resolving the question of the scope of 12 U.S.C. § 248a or the

Fed’s controversial interpretation of it. 47

                    Following the lawsuit, Fourth Corner requested a Master Account

again, this time with the explicit commitment that it would “not serve marijuana-

related businesses until there is a change in federal law that authorizes financial

institutions to serve marijuana-related businesses.” 48 The Kansas City Fed

responded to Fourth Corner’s access request by calling Fourth Corner’s request a


45
  Fourth Corner Credit Union v. Fed. Rsrv. Bank of Kansas City, 154 F. Supp. 3d 1185, 1188 (D. Colo. 2016),
vacated, 861 F.3d 1052 (10th Cir. 2017)

46
     Id. at 1189.

47
     Fourth Corner Credit Union v. Fed. Rsrv. Bank of Kansas City, 861 F.3d 1052 (10th Cir. 2017).

48
  Complaint at ¶ 41, Fourth Corner Credit Union v. Fed. Reserve Bank of Kansas City, No. 17-CV-02361 (D. Colo.
Sept. 29, 2017). See also Hill, Discretion in Payments, supra n.28 at 17-18;.



                                                         28
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“unique” one that raised “legal and policy questions” that the Fed would have to

resolve before it could grant that access. 49

                    Rather than continue to engage in the Fed’s efforts to turn Master

Account access into a rechartering exercise, the credit union filed another lawsuit.

The Kansas City Fed then granted Fourth Corner’s master account request

conditional on Fourth Corner’s acquisition of share insurance.50

                    There is no statutory basis for requiring share insurance for credit

unions: Credit unions without share insurance are eligible for a Master Account.

But the Fed used its claimed discretion to impose these additional requirements on

Fourth Corner. Fourth Corner could not get share insurance and thus never

received Master Account access.51




49
  Complaint at ¶¶ 33,50 Fourth Corner Credit Union v. Fed. Reserve Bank of Kansas City, No. 17-CV-02361 (D.
Colo. Sept. 29, 2017). Answer at ¶¶ 33,50, Fourth Corner Credit Union v. Fed. Reserve Bank of Kansas City, No. 17-
CV-02361 (D. Colo. Nov. 8, 2017). See also Hill, Discretion in Payments, supra n.28 at 18.

50
     See Hill, Discretion in Payments, supra n.28 at 18.

51
     Id.

                                                           29
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                     2.       The Narrow Bank

                     In 2017, James McAndrews, the former director of research for the

Federal Reserve Bank of New York, saw a business opportunity in changes to the

Fed’s monetary policy framework. He wanted to create a new bank that did not

engage in lending and thus maintained a full, 100% reserve bank (as opposed to the

fractional reserve model that most banks maintain in the deposit-taking and lending

activities that they pursue).

                     His bank, The Narrow Bank (TNB), received a Connecticut state

charter and sought a Master Account. The Fed refused to either grant or deny that

request, but did subject TNB to extensive vetting in connection with its Master

Account request (and after it had already received its Master Account request).

TNB filed suit, but the court dismissed its Complaint at the Fed’s urging because,

the Fed argued, the case was not ripe given the Fed’s own lack of decision on that

request.52 Six years later, TNB’s request is still pending.53

                     With TNB, the Fed appears to claim an exception to its previous

assertions that all depository institutions would receive access to its priced services

on equal terms. That exception seems to be that depository institutions cannot




52
     Hill, Discretion in Payments, supra at n.28 at 21.

53
     Id.

                                                          30
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have novel business practices that the Fed’s monetary policymakers, in their sole

wisdom and determination, do not favor.

                3.      The Territorial Bank of American Samoa (“TBAS”)54

                In 2012, the Bank of Hawaii, a private bank and the only provider of

financial services in American Samoa, announced that it was ceasing operations in

this remote and deeply impoverished US territory. Officials from American

Samoa tried but failed to persuade other banks from the U.S. and elsewhere to

open services. They opted instead to open their own bank, with the government as

shareholders.

                The Federal Reserve Bank of San Francisco referred the case to the

Board of Governors in Washington DC. Board staff demanded that the bank

(owned by the government) explain how it would insulate itself from governmental

pressures from the American Samoan government. It challenged the territory’s

new supervisory agency, the Office of Financial Services, and queried whether the

American Samoan government could effectively supervise banking at all.

                TBAS’s request stalled until the Trump Administration nominated and

the Senate confirmed the candidacy of Randal Quarles of Utah to become a


54
   The travails of the TBAS have been extensively documented in American Banker. See Rob Blackwell, How Far
Does American Samoa Have to Go to Get a Bank?, American Banker, July 31, 2017 and Rob Blackwell, American
Samoa Finally Gets a Public Bank, American Banker (April 30, 2018).




                                                   31
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member of the Board of Governors. Quarles, who personally knew some of the

consultants retained by TBAS, helped push the request through. TBAS was now a

bank with an executed Master Account Agreement.

                 The execution of this Agreement was no mere formality, though.

TBAS had to agree to a higher capital buffer than other banks that received a lower

capital requirement. It had to hold more reserves than regulations required. It had

to send the Fed monthly financial statements. And it had to agree that it could not

borrow from the discount window. 55 In other words, before the Federal Reserve

would permit TBAS to execute a Master Account Agreement – an agreement that

had for many years been pro forma for legally eligible, duly chartered depository

institutions – the bank had to agree to ongoing, extensive Federal Reserve

supervision, despite there being no legal or historical basis for such supervision.

                 With TBAS, the Fed appears to claim a third exception to its previous

assertions that all depository institutions would receive access to its priced services

on equal terms. That exception seems to be that depository institutions that are

chartered by American Samoa (and perhaps other government entities?) must

subject themselves to Fed supervision, whether they want to join the Federal

Reserve System or not.


55
  The legal scholar Julie Hill learned these limitations from interviews with TBAS officials. See Hill, Opening a
Federal Reserve Account, supra n. 5 at 487-92.

                                                      32
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           G.       The Federal Reserve Doubles Down on Its Claim of Discretion
                    with Its 2022 Guidelines for Evaluating Account and Services
                    Requests
                    No statute addresses the provision of Master Accounts. While the

Board recognized as early as 2004 that the Reserve Banks should adopt policy

statements governing standards and processes for Master Accounts, only one

Reserve Bank, the Federal Reserve Bank of New York, did so.56 The Board itself

issued no guidance for Master Accounts until after the Plaintiff in this case sued.

                    In August 2022, the Federal Reserve’s Board of Governors adopted

Guidelines for Evaluating Account and Service Requests. The draft version of this

guidance was published on May 5, 2021. This “final guidance” was meant to

clarify the process the Board of Governors has instructed the Reserve Banks to

follow when the Banks (and Board) make decisions about access to priced

services.57

                    In this Guidance document, adopted well after the Fed was subject to

multiple lawsuits regarding its authority in this space, the public learned for the

first time of the Fed’s newly adopted posture as a quasi-chartering authority.




56
     Hill, Opening a Federal Reserve Account, supra n. 5 at 467.

57
  Bd. of Govs. of Fed. Rsrv. Sys., Guidelines for Evaluating Account and Services Requests, 87 Fed. Reg. 51,099
(Aug. 15, 2022).

                                                          33
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                    In conjunction with lengthy assertions of the Fed’s own discretion in

approving what it regards as Master Account “applications,” the Board also

announced the factors it would weigh against legally eligible, duly chartered

depository institutions that sought to execute a Master Account Agreement.

Among other principles, the Board announced three that render it a quasi-

chartering authority over the entire financial system.

                    First, the Fed asserts that a legally eligible, duly chartered depository

institution will face a searching evaluation in its attempt to execute a Master

Account Agreement based on the Fed’s own assessments of the “credit,

operational, settlement, cyber, or other risks” to the Federal Reserve Banks, to the

overall payment system, to the “stability of the US financial system” and to “the

Federal Reserve’s ability to implement monetary policy.” 58 The number of factors

that could affect “other risks” to the “overall payment system” or undermine the

“stability of the US financial system” or otherwise become adverse to the Fed’s

“ability to implement monetary policy” is so vast that there are few banking

practices today that would not be subject to that analysis. In other words, by

asserting this authority over master accounts (which are required for modern




58
     Id. at 51,099 – 51,100.

                                                 34
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banking), the Fed has asserted that it is the primary (re)chartering authority for the

entire US financial system.

                      Relatedly, the Fed asserts that a legally eligible, duly-chartered

depository institution will face a more challenging task in executing its Master

Account Agreement if it engages “in novel activities for which authorities are still

developing appropriate supervisory and regulatory frameworks.” 59

                      There is no question that assessing the business practices of a

proposed depository institution is an important determination for the appropriate

governmental entity to make. The problem with the Fed’s assertion of this

sweeping authority is that it is not that entity for the overwhelming number of

legally eligible depository institutions in the United States. It can only assess its

supervisory and regulatory abilities for those entities for which it is the primary

supervisor, namely, state-chartered members of the Federal Reserve System as

well as bank and financial holding companies. The determinations of harmful or

helpful novelty has always been, historically, something for the chartering entity to

determine. In the dual banking system, this provides space for states to experiment

as the so-called laboratories of democracy. The Fed’s contrary assertion




59
     Id. at 51,101.

                                                  35
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eviscerates that historical model and places it in the position of evaluating every

risk and every novelty everywhere in the financial system.

             It is also important to note some implications of the Fed’s skepticism

of novelty of new entrants into the banking system. That posture puts a heavy

thumb on the scale in favor of incumbent banks. The Guidelines are specifically

biased against innovators and novel financial institutions, decreasing the incentives

for innovations for incumbents and new entrants alike. The result if the Fed is

permitted to persist in this practice is the stunted development of the US banking

system.

             Second, the Board announced a “tiered” approach to evaluating these

and other risks. The most favored depository institutions to receive the least quasi-

chartering scrutiny will be those “eligible institutions that are federally insured.”

Second are eligible depository institutions “that are not federally insured but are

subject (by statute) to prudential supervision by a federal banking agency.” By

making this distinction, the Fed is actively discriminating against those legally

eligible institutions that receive their charter from a state chartering authority and

either do not seek deposit insurance at all or seek it from a state or private entity.

The Fed labels the latter institutions third tier and will treat the chartering

processes to which the states of the union (and its territories) as suspect, with risks

to be reevaluated by the Fed in the way it chooses, with minimal disclosure.

                                           36
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             This tiered approach whereby the Fed explicitly favors depository

institutions with federal deposit insurance or a federal prudential supervisory

authority is as stunning a departure from the traditions of American banking as I

can recall reading from an official document. Nowhere in the statutes governing

the Federal Reserve System or in the rich political history regarding the reach of

the central bank’s powers over the American financial system have I ever seen an

assertion of power by the Fed to supplant completely the activities of state banking

authorities. There will be countless examples of depository institutions that do not

have a primary federal supervisor, all of which chartered at the state level, many

serving unique financial needs to their communities. The Guidelines are a signal

to, for example, state-chartered, state-insured credit unions that their entire

business model is now under heavy federal scrutiny, despite the fact that these

entities structured their affairs to stay closer to their own communities.

             All of the depository institutions considered in each of these tiers are

legally eligible and duly chartered. These are the depository institutions that the

framers of the Monetary Control Act meant for the Fed to service on equitable

terms to Fed member banks. Now, suddenly, the Fed has determined that some of

them will be more equal than others.

             Third, “[p]rovision of an account and services to an institution should

not adversely affect the Federal Reserve’s ability to implement monetary policy.”

                                          37
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Again, this wide-open prerogative of the Fed is the Board of Governor’s alone to

determine. 60 Banking practices that expose the weaknesses of adopted monetary

policy procedures – procedures not adopted by statute, but by practice – can

subject those depository institutions to existential crisis if the Fed does not like that

exposure. If, for example, a banking practice creates incentives for institutions to

take advantage of services through facilities that the Fed has designed poorly,

rather than face the criticism for such poor design, the Fed can threaten to use its

substantial authority over the payment system to protect itself in the pursuit of

flawed monetary policy. The Fed, in these circumstances, becomes judge and jury

of itself.

                   By placing itself in the position of evaluating all of these issues, the

Fed has made access to its priced services – access that the framers of the

Monetary Control Act intended to be open and to all depository institutions – a

second chartering event. The Fed will determine whether a depository institution

can access the entire payment and financial services system. In this way the Fed

can determine whether any depository institution, anywhere, will live or die,

succeed or fail, before having the chance to do so on its own merits.




60
     12 U.S.C. § 248(k)

                                                38
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             With the adoption of these Guidelines in 2022, in direct departure

from decades of practice, the Fed has decided that it has finally achieved a status

that Congress considered and rejected for most of the Fed’s 110 years: the Federal

Reserve is now the supervising authority of the entire US banking system.

             The Fed’s 2022 Guidance is the clearest signal I can name in the 160-

year history of the dual banking system that an entity of the federal government

has decided that state banking authorities do not have rights that require respect

and deference. It is an astonishing claim of authority, unprecedented in banking

history.

IV.    THE BOARD CONTROLS DECISIONS OVER MASTER ACCOUNT
       REQUESTS LIKE CUSTODIA’S THAT RAISE PUBLIC POLICY
       QUESTIONS

             The Federal Reserve Board of Governors makes key legal

determinations for the Federal Reserve System, particularly when it comes to

regulatory, supervisory, and financial policy matters (as opposed to monetary

policy matters under statutory control of the Federal Open Market Committee).

The Board is responsible for supervising the Federal Reserve System's twelve

regional banks and for supervising and regulating Fed member banks, various

holding companies, and other entities defined by law. The Board has authority to




                                         39
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delegate some of its responsibilities. But even then, the delegation is not complete:

the Board is responsible for the ultimate outcomes of its policymaking authority. 61

                  Such policymaking authority includes the management of its priced

services. Although I have seen no evidence that the Board intervenes in run-of-

the-mill requests for master accounts, the Board has intervened in two of the cases

noted above. As described more fully below, it is clear from the record, including

most recently in the case of TBAS, that the chief decision-maker in these cases is

the Board of Governors, not the individual Federal Reserve Banks. The Board

dictated the outcome of TNB’s and TBAS’s master account requests because each

of those cases raised public policy questions.

                  It is also clear from the administrative record in this case that the

Board dictated the outcome of Custodia’s request.

         A.       Previous Cases of Board Intervention in Master Account Requests
                  1.       The Narrow Bank

                  Discovery in this case has revealed that the Board has intimately

involved in the denial of TNB’s master account request.




61
   See 12 U.S.C. 248(k) (giving the Board the power “[t]o delegate, by published order or rule and subject to subchapter
II of chapter 5, and chapter 7, of title 5, any of its functions, other than those relating to rulemaking or pertaining
principally to monetary and credit policies, to one or more administrative law judges, members or employees of the
Board, or Federal Reserve banks.”)



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                    In a 2018 letter to Counsel for TNB, the General Counsel of the New

York Fed informed TNB “that senior policy officials at the Board of Governors

have expressed the strong view that the New York Fed should not approve TNB’s

request for a master account.”62

                    The New York Fed’s letter further explained that “there are

substantial policy concerns regarding TNB’s business model, whose sole purpose

is to arbitrage the Federal Reserve’s Interest on Excess Reserves (“IOER”) rate.” 63

The letter noted that TNB was “well aware” of such concerns “from its

communications with staff at the Board of Governors.”64

                    Litigation documents from the TNB lawsuit further confirm the

 Board’s involvement in TNB’s master account request. When the New York Fed

 filed its motion to dismiss, the Board of Governors filed an amicus brief in

 support of that motion. 65 In that brief, the Board told the Court that it was

 “weighing the policy considerations implicated by TNB’s business model.” 66



62
     TNB-0000002 (emphasis added).

63
     Id.

64
     Id. (emphasis added)
65
  Memorandum of Law of Amicus Curiae the Bd. of Governors of the Fed. Rsrv. in Support of Defendant the Fed.
Rsrv. Bank of N.Y.’s Motion to Dismiss, TNB USA v. Fed. Rsrv. Bank of N.Y., No. 1:18-CV-07978, 2020 WL
1445806 (2020)

66
     Id. at 15.



                                                    41
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                As noted, TNB’s request is still pending, six years later.

                2.      The Territorial Bank of American Samoa (“TBAS”)67

                When TBAS applied for a master account with the Federal Reserve

Bank of San Francisco, the San Francisco Fed referred the case, apparently very

quickly, to the Board of Governors in Washington DC.

                The request then stalled at the Board with plenty of questions about

whether TBAS was suited to its chartering authority but no action on its request to

become a full-fledged participant in the financial system.

                This changed in 2017 when Randal Quarles, a newly confirmed

member of the Federal Reserve Board of Governors, helped push the request to

completion.

                TBAS gained access to a Master Account, but the Board decided that

it did not trust the government of American Samoa to adequately supervise TBAS.

TBAS had to agree to a higher capital buffer than other banks that received a lower

capital requirement. It had to hold more reserves than regulations required. It had

to send the Fed monthly financial statements. And it had to agree that it could not

borrow from the discount window. These ongoing conditions on TBAS mean that

the Fed has an ongoing supervisory relationship with the bank.


67
  See Rob Blackwell, How Far Does American Samoa Have to Go to Get a Bank?, American Banker, July 31, 2017
and Rob Blackwell, American Samoa Finally Gets a Public Bank, American Banker (April 30, 2018).

                                                   42
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                      There is no statutory basis for these requirements. The Board reached

them on its own.

            B.        The Board’s Intervention in Custodia’s Master Account Request

                      It is uncontroversial that Custodia, as the first bank to combine

traditional banking with crypto-assets, implicated matters of policy that the Board

felt essential to assess before deciding on Custodia’s Master Account access.

Based on my review of the administrative record and documents produced by the

Kansas City Fed, I conclude that the Board did so on its own initiative and

assessment of its risks.

                      1.   The Board Determined Whether Custodia Was Eligible for a
                           Master Account

                      Throughout 2021, Custodia and its outside counsel had a series of

calls with Board staff regarding Custodia’s eligibility for a master account.68

Notably, Custodia primarily conducted those calls with Board staff rather than with

Reserve Bank staff.69

                      On August 2, 2021, the Kansas City Fed sent Custodia a letter stating

that “it would be inappropriate for [the Bank] to issue a decision” on Custodia’s

master account request before the Board clarified its interpretation of Custodia’s


68
     Cox Rpt. ¶ 38.

69
     Id.



                                                 43
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“legal eligibility for a master account under the Federal Reserve Act.” 70 The

reference to Custodia’s legal eligibility appears to be in reference to the same

statement that the Board’s General Counsel had previously made to the same

effect. 71

                 2.      The Board’s public and private guidance asserts Board
                         Dominance Over Master Account Access

                 The Board’s primacy in reaching conclusions about TNB, TBAS, and

Custodia is consistent with its own public and private guidance about Master

Account access. This bears out in the present litigation. On May 5, 2021, the

Board proposed Guidelines for Evaluating Account and Services Requested (the

“Guidelines”). While those guidelines were pending, the Kansas City Fed

informed Custodia that “it would be inappropriate to issue a decision” on

Custodia’s master account request until those guidelines were finalized.72 The

Guidelines became final on August 15, 2022.

                 In addition to the principles discussed about the Guidelines above,

they also show the Board’s assertion over the process for granting Master Account

access. The Guidelines were designed so “that the Reserve Banks [would] apply a


70
     FRB-AR-003858.

71
  FRBKC-00000234 (“As was recently conveyed to your counsel ... it has been determined that Avanti satisfies the
threshold definition of an entity eligible to maintain a master account.”).

72
     FRBKC-00003858



                                                      44
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consistent set of guidelines when reviewing [] access requests to promote

consistency across Reserve Banks and to facilitate equitable treatment across

institutions.”73 The Board stated that the Guidelines were needed due to “a recent

uptick in novel charter types being authorized or considered by federal and state

banking authorities across the country. As a result, the Reserve Banks are

receiving an increasing number of inquiries and access requests from institutions

that have obtained, or are considering obtaining, such novel charter types.” 74

                      As explained above, the Board’s articulation of these new principles

and risk assessments, as well as its categorization of state-supervised depository

institutions as second and third tier, is an extraordinary usurpation of chartering

authority that is not the Fed’s to exercise. What these Guidelines also demonstrate

is that the Board is in full command of that usurpation.

                      Similarly and more concretely, on January 17, 2023, the Board

finalized and issued internal guidance letter, S-2677. 75

                      In S-2667, the Board sets forth a series of “Expectations”: “the Board

expects the Reserve Banks to (1) establish and maintain Federal Reserve System



73
      Guidelines for Evaluating Account and Services Requests, 87 Fed. Reg. 51,099, 51106.

74
     Id. at 51,099.

75
     FRB-AR-000014.



                                                         45
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(System) implementation procedures for the Guidelines, (2) participate in an access

request information sharing forum, and (3) consult, as appropriate, with Board

staff.” 76

                 Expectations is a euphemism, however. Consistent with its role as

policymaker for the entire Federal Reserve System, the Board uses S-2667 to

instruct the Reserve Banks on how they must perform in evaluating requests to

access Master Accounts from beginning to end. Under S-2667, Reserve Banks'

implementation of the Guidelines mentioned above “should reflect the guidance

provided by the Board in the Guidelines” and “must” be provided “to the director

of the Division of Reserve Bank Operations and Payment Systems (RBOPS)”

before they take effect. 77 Such procedures “shall not take effect if the director of

RBOPS (or director’s designee), in consultation with the Board's general counsel

(or the general counsel's designee), raises an objection within 10 business days of

receipt.” 78

                 The Board goes further. Under S-2667, the “Reserve banks should

consult with the other Reserve Banks and Board staff, as appropriate, via an



76
     FRB-AR-000014 at FRB-AR-000015.

77
     Id.

78
     Id.



                                           46
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information sharing forum to discuss administration of access requests,

implementation of the Guidelines, and other related issues.”79 The Board directed

that the information sharing forum “should include members form all Reserve

Banks and be open to Board staff liaisons.” 80

                 Although the Board also included the proviso that it “recognizes the

discretion granted to the Reserve Banks under section 13 of the Federal Reserve

Act to grant or deny access requests or to take action on existing access

relationships,” the Board in fact made no room for that discretion: Master Account

decisions required Board input. The Board “expects the Reserve Banks to consult,

as appropriate, with Board staff to provide insight into application of the

Guidelines to requests and to further support consistency in decision-making

across Reserve Banks.” 81

                 In advocating for Reserve Bank discretion, the Board may have meant

that the access to Master Accounts is usually an automatic exercise. The Board

instructs the Reserve Banks that “[m]ost requests for master accounts by U.S.

branches and agencies of foreign banks (FBOs) are expected generally to be



79
     Id.

80
     Id.

81
     Id.



                                            47
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routine, and accordingly Reserve Banks need not consult with the Board regarding

such requests in most cases.” 82 When “account requests . . . present novel risks,”

however, the Board insists that “Reserve Banks should consult RBOPS.” 83 S-2667

also makes clear that eligibility for access should be determined “in consultation

with Board Legal.” 84

                 The Board goes further still on its instruction to Reserve Banks on

how decisions on Master Account access must be made. In brief, the decision is

not the Reserve Banks to make. S-2667 makes clear that “any Reserve Bank that

is considering approval of an access request from a higher risk entity, including all

Tier 2 or Tier 3 institutions, should consult with the director of RBOPS on the

results of its pre-decisional analysis under the Guidelines prior to communicating

any decision to the institution.” 85 Relatedly “[a]ny Reserve Bank that is

considering denying any access request, including an access request from an

institution in Tier 1, should consult the director of RBOPS prior to communicating

any decision to the requesting institution.”86 The Board thus not only reinforces



82
     FRB-AR-000014 at FRB-AR-000016.

83
     Id.
84
     Id.

85
     Id.

86
     Id.

                                            48
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the favoritism for federal institutions with federal insurance already found in the

Guidelines. It also emphasizes that such favoritism is ultimately the responsibility

of the Board of Governors.

                 After the Reserve Banks contacts the Board, “the director of RBOPS

will review, in coordination with other Board divisions (such as Legal, Monetary

Affairs, Supervision and Regulation, and Financial Stability), as appropriate, the

Reserve Bank's record documenting application of the Guidelines in evaluating the

access request, including the risk level after implementation of the Reserve Bank's

plans to mitigate any risks identified.”87

                 Remarkably, given S-2667’s assertion that Reserve Banks retain the

discretion to grant or deny access to Fed services, S-2667 directs the Reserve

Banks to “confirm in writing to the director of RBOPS how [they have] addressed

any concerns the RBOPS director has raised regarding” requests for services

“[p]rior to granting an access request.”88

                 Finally “[a]ny Reserve Bank that is considering an involuntary

termination of access should consult the director of RBOPS prior to

communicating any decision to an institution.”89


87
     Id.

88
     Id.

89
     FRB-AR-000014 at FRB-AR-000017.

                                             49
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             S-2667 is an unremarkable document in many respects. It merely

restates the uncontroversial view that the Board of Governors controls

policymaking within the Federal Reserve System. To the extent that Reserve

Banks participate in that decision, they do so as subordinates.

             What is remarkable is that the Board somehow insists otherwise, that

it is merely a consultative body available to Reserve Banks should they need extra

resources. S-2667 lays bare the conceit that this description of power dynamics

within the Federal Reserve System is an argument meant to shield the Board from

scrutiny and subvert careful systems of public accountability over a government

agency. Despite its careful wording, S-2667 leaves the reader with no doubt that

the Board “expects” that it will dictate the results of access requests of interest.

             3.   The Board Implemented Its Public and Internal Guidance
                  when Denying Custodia’s Master Account Request
             In this case, the Board not only insisted on “consulting” on Custodia’s

access request, the Board dictated the outcome of that request and the reasoning for

the denial. The Board also did so while attempting to obscure the fact of its

involvement.

             The Board and the Kansas City Fed implemented S-2667’s new

review procedures when evaluating Custodia’s master account. “Pursuant to” the

draft of S-2677, the Kansas City Fed “provid[ed] [its] pre-decisional draft


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memorandum regarding potential actions on Custodia’s request for a master

account” to Board staff on January 10, 2023. 90

                  Board staff reviewed the draft memo written by Reserve Bank staff

outlining the reasons for denying Custodia’s request to gain access to a Master

Account for the Kansas City Fed. This memo was meant for an internal audience.

The Board provided extensive feedback, including deleting and adding language to

the memo in tracked changes.91 One particularly notable edit is Board staff’s

removal of a reference to “broad policy matters” and “risk mitigation strategies”

that were “being considered by the Federal Reserve Board” during the pendency of

Custodia’s access request.92

                  The Reserve Bank staff’s final memo substantially incorporated the

Board’s edits and comments. More pointedly, the Reserve Bank only relayed the

Fed’s decision on Custodia’s Master Account access after Board staff blessed the

final recommendation by stating that they “have no concerns with the Reserve

Bank moving forward with its plan to communicate to Custodia Bank its decision




90
     FRB-AR-000335.

91
     FRB-AR-000315;000326.

92
     FRB-AR-000315 at FRB-AR-000323. See also FRB-AR-000344.



                                                  51
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to deny the request for a master account and access to services” that the Kansas

City Fed proceeded to deny Custodia’s master account request.93

                 Through the Guidelines and S-2667, the Board formalized what had

been an informal process previously – namely, the Board intervening in master

account requests that raised public policy questions. Custodia’s request appears to

fit the parameters of what the Board wanted to accomplish. The task was not

delegation to the Reserve Banks, but Board control of Master Account access. The

record in this case is replete with evidence of such intervention, and such

intervention is consistent with recent Board practice. Ultimately, it was the

Board’s decision to deny Custodia’s master account request.

V.        CONCLUSION
                 For the reasons explained above, it is my opinion that the Fed’s claim

of discretion over master account requests is inconsistent with history, practice,

legal context, and the public policies of the US government and of the Federal

Reserve itself prior to 2015.

                 It is also my opinion that the Board of Governor’s exercises control

over Master Account access when the Board deems such access relevant to its own

assessment of public policy.



93
     FRB-AR-000002.

                                            52
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            I further conclude that the Board, consistent with past recent practice,

exercised control over Custodia’s efforts to gain access to a Master Account at the

Federal Reserve Bank of Kansas City.

            Because discovery is ongoing and the Kansas City Reserve Bank has

not completed its production of documents, I reserve the right to modify or

supplement the opinions set forth in my report and the bases for those opinions.



DATE: _______________
      October 20, 2023                             By:___________________
                                                       Dr. Peter Conti-Brown




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                  EXHIBIT 1
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The Wharton School of the University of Pennsylvania, Department of Legal Studies and Business Ethics
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       Courses taught: Other People’s Money: The Law, Politics, and History of Financial Institutions; Global
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   Pritzker-Pucker Family Visiting Assistant Professor of Law
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                                          OTHER AFFILIATIONS


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Nonresident Fellow in Global Policy, Visa Economic Empowerment Institute                          2021 – present
Advisory Board Member, Twenty Acre Capital LP                                                     2019 – present
Member, The Committee on Monetary and Financial Law                                               2019 – present
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Nonresident Fellow, Economic Studies, The Brookings Institution                                   2019 – present
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                                                                                                 September 2023
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                                               EDUCATION
Princeton University, Department of History, PhD                                                              2017
Stanford Law School, J.D.                                                                                     2010
The City College of New York, Department of Education, M.S.                                                   2007
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Of Counsel, Gupta Wessler PLLC, Washington, D.C.                                                      2013 – 2016
Law Clerk, Judge Stephen F. Williams, U.S. Court of Appeals for the D.C. Circuit                      2012 – 2013
Law Clerk, Judge Gerard E. Lynch, U.S. Court of Appeals for the Second Circuit                        2011 – 2012
English and ESL Teacher, High School for Media & Communications, New York City Department
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                                             PUBLICATIONS
                                                          Books
The Federal Reserve: An American History, under contract WW Norton
The Banker’s Thumb: A History of Bank Supervision in America (with Sean Vanatta), under contract Princeton
    University Press
The Law of Financial Institutions, Aspen, 7th edition (2021) (with Richard Carnell, Jonathan Macey, Geoffrey Miller)
Research Handbook on Central Banking, Edward Elgar Publishing, 2018 (with Rosa M. Lastra)
The Power and Independence of the Federal Reserve, Princeton University Press (2016)
When States Go Broke: Origins, Context, and Solutions for the American States in Fiscal Crisis, Cambridge University
    Press, 2012 (with David Skeel)

                                  Published and Forthcoming Articles and Essays
“Bankruptcy and the Macroeconomy: A New Approach for Governmental Reaction to Economic Crisis” (with
    David Skeel) (forthcoming Yale Journal on Regulation, March 2023)
“Banking on a Curve: How to Restore the Community Reinvestment Act,” Harvard Business Law Review,
    forthcoming (with Brian Feinstein)
“Financial Crises and Legislation” Journal of Financial Crises, vol 4, issue 3, 2021 (with Michael Ohlrogge)
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    2021 (with Kaleb Nygaard as first author)
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    Brian Feinstein)
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    David Wishnick)


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    Nicholas Parrillo)
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    Wishnick)
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    Banks” (with Brian Feinstein and Kaleb Nygaard)

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    eds., Research Handbook on Central Banking, Edward Elgar Publishing, 2018.
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    Money, Finance, and Banking,” in Conti-Brown & Lastra, eds. Research Handbook on Central Banking, Edward
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“Politics, Independence, and Retirees: Long-term Low Interest Rates at the U.S. Federal Reserve,”How Persistent
    Low Returns Will Shape Saving and Retirement, edited by Robert Clark, Raimond Maurer, and Olivia Mitchell,
    Oxford University Press, 2018.
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    Press) (2012)


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    Institution, Series on Financial Markets and Regulation, October 29, 2020
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    (with David Skeel)
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    December 20, 2019
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    on Regulation and Markets, October 7, 2019
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   Wall Street: How Ferdinand Pecora’s Investigation of the Great Crash Forever Changed American Finance,” 39
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                            HONORS, GRANTS, AND AWARDS
Wharton MBA Excellence in Teaching Award                                                           2018-2023
Tanoto Fund Award                                                                                  2020-2021
Cynthia and Bennett Golub Endowed Faculty Scholar Award                                            2018-2019
Wharton Undergraduate Excellence in Teaching Award                                          2017, 2018, 2019
Penn Undergraduate Research Mentoring Award                                     2016, 2017, 2019, 2020, 2022
Wharton Dean’s Fund Research Award                                                          2016, 2017, 2019
Institute for Political History, Hugh Davis Graham Award                                                2016
Council on Foreign Relations, Stephen M. Kellen Term Member                                        2015-2020

                                   SELECT PRESENTATIONS

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Personal:    Married to Nikki Conti-Brown, with four children




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                  EXHIBIT 2
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                    MATERIALS RELIED UPON LIST

•    Motion to Dismiss Memorandum, ECF No. 49
•    Motion to Dismiss Memorandum, ECF No. 51
•    Amici Brief in Opposition to Motion to Dismiss, ECF. No. 92
•    Reply in Support of Motion to Dismiss, ECF No. 96
•    Reply in Support of Motion to Dismiss, ECF No. 97
•    Transcript of Motion Hearing Proceedings
•    Amended Complaint, ECF. No. 121
•    Motion Dismiss, ECF. No. 124
•    Motion Dismiss, ECF. No. 127
•    Memorandum in Opposition to Motion to Dismiss Amended Complaint,
     ECF. No. 135
•    Brief of Amicus Curiae, ECF. No. 151
•    Reply to Motion to Dismiss, ECF. No. 159
•    Reply to Motion to Dismiss, ECF. No. 160
•    Amended Amicus Curiae Brief, ECF. No. 163
•    Answer to Amended Complaint with Affirmative Defenses, ECF No. 166
•    Amended Scheduling Order, ECF. No. 169
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